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                           KANDY LLC vs KAYLA MCNEILL
                              Nicole Cook on 05/09/2024

    ·1· · · · · · · ·UNITED STATES DISTRICT COURT
    · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
    ·2· · · · · · · · · · · FT. LAUDERDALE

    ·3
    · · · ·HEAD KANDY LLC,
    ·4
    · · · · · · · · ·Plaintiff,· · · · ·CASE NO.
    ·5· · · · · · · · · · · · · · · · · 0:23-cv-60345-JB
    · · · ·vs.
    ·6
    · · · ·KAYLA MCNEILL,
    ·7
    · · · · · · · · ·Defendant.
    ·8
    · · · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    ·9

    10· · · · · · · · · · · ·DEPOSITION OF

    11· · · · · · · · · · · · NICOLE COOK

    12

    13· · · · · · · · · ·Thursday, May 9, 2024

    14· · · · · · · · · · · · 11:07 A.M.

    15· · · · · · · · · · · Videoconference

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    24· ·Reported By Rocco Franco, Commission No. 202403900042

    25· · · · · · · · · · · ·Job No. 65951


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    ·1· · · · · · · · · ·APPEARANCES OF COUNSEL

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    21

    22
    · · ·Also present:
    23
    · · · · ·Olivia Henderson, Videographer
    24· · · ·Kayla McNeill, Defendant

    25


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    ·1· · · · Q.· ·Okay.· I get it.· Ms. Cook, you said that
    ·2· ·Ms. McNeill was kind of a big name around town.
    ·3· · · · · · ·What do you mean?
    ·4· · · · A.· ·Just, like, everybody knows her.· Everybody
    ·5· ·knew that she had a -- a hair company, and she was a
    ·6· ·hairstylist before.· She did nails, hair.· She started
    ·7· ·Head Kandy.· She had a tanning salon.· So she was a
    ·8· ·pretty big name around here because we live in a
    ·9· ·little, itty-bitty town.· So she had a really nice
    10· ·salon, and, like, everybody went to her, and everybody
    11· ·just knew her.
    12· · · · Q.· ·What's the name of your little, itty-bitty
    13· ·town?
    14· · · · A.· ·Salida, Colorado.
    15· · · · Q.· ·Do you remember the names of the businesses
    16· ·Ms. McNeill operated in Salida?
    17· · · · A.· ·No.· I would say -- I -- I can't remember.
    18· ·But --
    19· · · · Q.· ·Did you ever use Ms. McNeill's services in
    20· ·those businesses prior to Head Kandy?
    21· · · · A.· ·Totally.· Yeah.· She definitely did my hair.
    22· ·She did my nails.· All of that.
    23· · · · Q.· ·And was that regularly?
    24· · · · A.· ·Yeah.· I'd say regularly, like, every --
    25· ·regularly, like, four weeks for nails and three months

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    ·1· ·was advertising?· Excuse me.
    ·2· · · · · · ·MR. CONVERSE:· Objection.· Form.
    ·3· · · · · · ·THE WITNESS:· Yeah.
    ·4· ·BY MS. SADRO:
    ·5· · · · Q.· ·How did you become aware of this position?
    ·6· · · · A.· ·It was on Facebook.· So she had posted a
    ·7· ·little help wanted ad on a community Facebook group
    ·8· ·that I was a part of, and I just responded to that.
    ·9· · · · Q.· ·What was the community Facebook group?
    10· · · · A.· ·I think, back then, it was called Ark
    11· ·Mountain Valley -- Ark Valley Mountain Mamas.· Ark --
    12· ·Ark Valley Mountain Mamas.
    13· · · · Q.· ·And what did the position say -- or what did
    14· ·Ms. McNeill say what the position was for?
    15· · · · A.· ·Yes.· It was for a babysitter for her
    16· ·daughter, Hayzlee.
    17· · · · Q.· ·Did the post, at that time, have any
    18· ·affiliation with Head Kandy?
    19· · · · A.· ·I'm not sure.· I can't remember fully what
    20· ·it said.· I also can't find it on Facebook, so I'm not
    21· ·sure.
    22· · · · Q.· ·When you were reviewing the position to
    23· ·potentially serve as Ms. McNeill's babysitter, did you
    24· ·have the impression that you would be working for Head
    25· ·Kandy, selling hair products?

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    ·1· · · · A.· ·No.· I knew I was going to be watching
    ·2· ·Hayzlee.
    ·3· · · · Q.· ·Okay.· Did you -- how did you get in contact
    ·4· ·with Ms. McNeill about your interest in working as a
    ·5· ·babysitter?
    ·6· · · · A.· ·I just texted her.
    ·7· · · · Q.· ·And you already had her number at this
    ·8· ·point, I'm assuming, because you had been living in her
    ·9· ·home?
    10· · · · A.· ·Yeah.· Yeah.· And, I mean, we were
    11· ·acquaintances.· Like I said, she was still friends with
    12· ·my boyfriend, so I just still had her number.
    13· · · · Q.· ·And what did you reach out to Ms. McNeill
    14· ·and ask her?
    15· · · · A.· ·I don't know that I really asked her
    16· ·anything.· I just said, hey, I can totally help you
    17· ·out.· Like, I'm home.· I had -- had my own baby in
    18· ·September, so I was home.· And I just reached out, and
    19· ·I was like, hey, I can help you.· Like, I'm home with
    20· ·Huxlee.· I'd totally be willing to help you out.· And
    21· ·that's just how it started.
    22· · · · Q.· ·Were you looking to work in an office or to
    23· ·have the ability to work from your home?
    24· · · · A.· ·Just work from home.
    25· · · · Q.· ·And why was that important to you?

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    ·1· · · · · · ·MS. SADRO:· Madam Court Reporter, I'm going
    ·2· ·to mark this as Exhibit 2.
    ·3· · · · · · ·(EXHIBIT 2 MARKED FOR IDENTIFICATION)
    ·4· ·BY MS. SADRO:
    ·5· · · · Q.· ·So Ms. Cook, in Exhibit 2, I'm looking at
    ·6· ·the first text message here that says January 10th,
    ·7· ·2021, at 7:37 a.m.
    ·8· · · · · · ·What are -- what is going on with this text
    ·9· ·message?
    10· · · · A.· ·That's probably when I saw it.· I just was
    11· ·like, I can -- I can watch her.· Like, I'm home.· I'm
    12· ·available.
    13· · · · Q.· ·And it says something.· Are you at the --
    14· ·the dentist's office?
    15· · · · · · ·Were you working at the dentist's office at
    16· ·that time?
    17· · · · A.· ·Yeah.· So I had worked at the dentist's
    18· ·office until I had had my little guy.· Then I just was
    19· ·there very part-time, just training some people every
    20· ·once in a while.· But I wasn't there full-time, part-
    21· ·time, or anything like that.· It was just to fill in.
    22· · · · Q.· ·And when you reached out to Ms. McNeill
    23· ·about this position, were you and Ms. McNeill able to
    24· ·come to an agreement as you serving as her babysitter?
    25· · · · A.· ·Yes.

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    ·1· · · · Q.· ·What did you understand that agreement to
    ·2· ·be?
    ·3· · · · A.· ·Well, I had one son that went to school in
    ·4· ·Cotopaxi and one son that went to school in Salida.· So
    ·5· ·I was just going to drive the one to Salida and pick up
    ·6· ·Hayzlee in the mornings when I dropped him off from
    ·7· ·school and take her back to my house and then bring her
    ·8· ·back to town when I had to pick him up from school.
    ·9· · · · Q.· ·And I -- I got to ask you, Ms. Cook.· At
    10· ·this point in time, did you have any understanding that
    11· ·you would be working at the Head Kandy warehouse?
    12· · · · A.· ·No.
    13· · · · Q.· ·Did you have any understanding that you
    14· ·would be selling Head Kandy products?
    15· · · · A.· ·No.
    16· · · · Q.· ·Was your understanding that your exclusive
    17· ·role was to watch Hayzlee?
    18· · · · A.· ·Yes.
    19· · · · Q.· ·Now, did you have an agreed upon schedule
    20· ·with Ms. McNeill for when you would watch her daughter?
    21· · · · A.· ·Yes.· Kind of.· I mean, it was a -- it was a
    22· ·very scattered kind of babysitting job.· But I had,
    23· ·like, all of the days that she was going to need me, or
    24· ·they weren't going to be around or all of that.· So I -
    25· ·- I had an idea that it was -- I can't remember if it

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    ·1· ·was four or five days a week, but it was at least four
    ·2· ·that I was going to have her.
    ·3· · · · Q.· ·It sounds like there was some flexibility?
    ·4· · · · A.· ·Yeah.
    ·5· · · · Q.· ·And would you and Ms. McNeill communicate to
    ·6· ·determine what days she needed you to watch her child?
    ·7· · · · A.· ·We did communicate.· We kind of communicated
    ·8· ·ahead of time on those days and what exactly those days
    ·9· ·would look like.· She had sent me calendars when they
    10· ·were going to be gone and when I was going to have her,
    11· ·when I wouldn't have her.· So I knew for the most part
    12· ·what days I would have her.
    13· · · · Q.· ·And -- and --
    14· · · · A.· ·Have her to me --
    15· · · · Q.· ·And correct me if I'm wrong.· I -- I think I
    16· ·keep saying it wrong.
    17· · · · · · ·Is Ms. McNeill's child pronounced Hayzlee or
    18· ·Hasley?
    19· · · · A.· ·Hayzlee.· Sorry.
    20· · · · Q.· ·Okay.· Thank you.· Did you ever watch
    21· ·Hayzlee at the Head Kandy warehouse?
    22· · · · A.· ·No.· I never watched her there.· I did drop
    23· ·her off there, but I never watched her there.
    24· · · · Q.· ·And on the occasions that you would drop
    25· ·Hayzlee off at the Head Kandy warehouse, were you ever

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     ·1· ·engaging in any business for Head Kandy?
     ·2· · · · A.· ·No.
     ·3· · · · Q.· ·Okay.· So when you were at the warehouse,
     ·4· ·you weren't organizing boxes?
     ·5· · · · A.· ·No.
     ·6· · · · Q.· ·You weren't selling any products?
     ·7· · · · A.· ·No.
     ·8· · · · Q.· ·Okay.· How often would you go to the
     ·9· ·warehouse when you had to pick up Hayzlee?
     10· · · · A.· ·Not often.· I would say maybe a handful of
     11· ·times.· Four or five times maybe, at the most, is all I
     12· ·had to take her there.
     13· · · · Q.· ·And so the majority -- it sounds like the
     14· ·majority of the work you did as Ms. McNeill's
     15· ·babysitter you did from your home?
     16· · · · A.· ·Correct.
     17· · · · · · ·MR. CONVERSE:· Objection.· Form.
     18· ·BY MS. SADRO:
     19· · · · Q.· ·At this point in time, at -- at the
     20· ·beginning of 2021, what was your understanding of what
     21· ·Ms. McNeill's role at Head Kandy was?
     22· · · · · · ·MR. CONVERSE:· Objection.· Form.
     23· · · · · · ·THE WITNESS:· My understanding was that she
     24· ·was still the owner.· I had no knowledge of, like, what
     25· ·a partnership with her partners entailed.· I knew there

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     ·1· ·were people involved, other people involved.· But my
     ·2· ·understanding was that she was the -- the big guy in
     ·3· ·the company.
     ·4· ·BY MS. SADRO:
     ·5· · · · Q.· ·When you say, "the big guy," did you
     ·6· ·understand that Ms. McNeill -- or was it your
     ·7· ·understanding that Ms. McNeill had authority to make
     ·8· ·decisions for Head Kandy, or at least that's what you
     ·9· ·believed?
     10· · · · A.· ·That's what I thought, yes.· Yes.
     11· · · · Q.· ·And obviously, you didn't ask any questions
     12· ·with -- of Ms. McNeill about how Head Kandy was
     13· ·operated or her operating structure at that point in
     14· ·time?
     15· · · · · · ·MR. CONVERSE:· Objection.· Form.
     16· · · · · · ·THE WITNESS:· No.
     17· ·BY MS. SADRO:
     18· · · · Q.· ·Ms. Cook, were you and Ms. McNeill able to
     19· ·come to an understanding about how much she would pay
     20· ·you?
     21· · · · A.· ·Yes.
     22· · · · Q.· ·Okay.· So Ms. Cook, still in Exhibit 2, I've
     23· ·gone to a text message now, dated January 10th, 2021,
     24· ·at 8:59 a.m.
     25· · · · · · ·Can you still see that on my screen?

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     ·1· · · · A.· ·Yes.
     ·2· · · · Q.· ·Okay.· Can you -- I -- I want to make sure
     ·3· ·I've got it right.· I mean, I think it's obvious.· We
     ·4· ·all have an iPhone nowadays or an Android.
     ·5· · · · A.· ·Right.
     ·6· · · · Q.· ·But -- but fair to say the messages in blue
     ·7· ·are from you, and the messages in black are from Ms.
     ·8· ·McNeill?
     ·9· · · · A.· ·Right.· Yes.
     10· · · · Q.· ·All right.· So in that message up on the
     11· ·screen, can you tell me the first message that you
     12· ·received from Ms. McNeill in that screenshot?
     13· · · · A.· ·Just that the hourly pay was $14.· To let
     14· ·her know what I was going to do for spring break, and
     15· ·she was flexible.· They race a lot for the summer.· She
     16· ·would let you know the schedule when she knew or let me
     17· ·know the schedule when she knew.
     18· · · · Q.· ·And -- and I want to go down a couple of
     19· ·messages.· And you say, "Sounds good."
     20· · · · · · ·Was that you agreeing to the pay rate?
     21· · · · A.· ·Yeah.
     22· · · · Q.· ·Okay.· And I've got it right, Ms. McNeill
     23· ·said, "Thank you"?
     24· · · · A.· ·Yep.
     25· · · · Q.· ·Now, I want to go to the text message that

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     ·1· ·says, "I'll have Kaylin get you paperwork for payroll."
     ·2· · · · · · ·Do you know who Kaylin is?
     ·3· · · · A.· ·Yes.
     ·4· · · · Q.· ·Who is Kaylin?
     ·5· · · · A.· ·She worked in the office doing payroll for
     ·6· ·Head Kandy.· Her last name is Culp.· I don't really
     ·7· ·know her outside of Head Kandy, so.
     ·8· · · · Q.· ·Had you known Ms. Culp prior to working for
     ·9· ·Head Kandy?
     10· · · · A.· ·I don't think so.
     11· · · · Q.· ·How did you come to learn that she -- her
     12· ·job at Head Kandy was in payroll?
     13· · · · A.· ·I think I just knew from that and then
     14· ·coming to find out, like, who all worked at Head Kandy
     15· ·and, like, what their job duties were and their roles
     16· ·and all of that.
     17· · · · Q.· ·And, Ms. Cook, after you and -- or excuse
     18· ·me, let me -- let me go down a little bit further.· I'm
     19· ·going to scroll to the next text.· That begins, "So
     20· ·I'll salary you."
     21· · · · · · ·Is that text again from Ms. McNeill?
     22· · · · A.· ·Yes.
     23· · · · Q.· ·Can you tell me what Ms. McNeill
     24· ·communicated to you in that text message?
     25· · · · A.· ·She was going to salary me instead of paying

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     ·1· ·hourly for $560 a week at $40 -- or 40 hours a week at
     ·2· ·$14 an hour, and I didn't have to clock in and clock
     ·3· ·out.· Do you want me to read that?
     ·4· · · · Q.· ·Sure.· Go ahead and keep telling me what
     ·5· ·your understanding of the arrangement you had with Ms.
     ·6· ·McNeill.
     ·7· · · · · · ·I mean, did you -- did she tell you about
     ·8· ·what would happen if you weren't working on a
     ·9· ·particular day?
     10· · · · A.· ·Yeah.· So then it just said she would keep
     11· ·her that day, or if she kept her, that I would still
     12· ·get paid.· And I'd still get paid when I was on
     13· ·vacation.· Just a set amount for the week, if that
     14· ·worked for me.· So I'd have her until 5:00 or later if
     15· ·I needed to or earlier if I needed to.· And then I
     16· ·would just get paid consistently.· So if I would come
     17· ·to town to get my middle son, Brody, I could bring her
     18· ·with me.· Or if he rode the bus, that she could come
     19· ·pick her up and bring Brody with her too if I needed.
     20· ·So she was helpful when I needed her.
     21· · · · Q.· ·Ms. Cook, during your time working for Head
     22· ·Kandy, did you ever work a full 40-hour week?
     23· · · · A.· ·No.
     24· · · · Q.· ·But that was Ms. McNeill's original offer to
     25· ·you, to pay you $560 for 40 hours a week?

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     ·1· · · · · · ·MR. CONVERSE:· Objection.· Form.
     ·2· · · · · · ·THE WITNESS:· Yeah.
     ·3· · · · · · ·MS. SADRO:· And, Mr. Converse, what's your
     ·4· ·objection?
     ·5· · · · · · ·MR. CONVERSE:· You're asking leading
     ·6· ·questions.· You're telling her -- you're giving her the
     ·7· ·answer.· This is direct, and it -- you're -- again,
     ·8· ·you're posing inappropriate questions.· And you're also
     ·9· ·mischaracterizing the documents.
     10· · · · · · ·MS. SADRO:· Okay.· Thank you, Mr. Converse.
     11· ·BY MS. SADRO:
     12· · · · Q.· ·All right, Ms. Cook.· So when you were
     13· ·initially reaching out to Ms. McNeill to babysit, did
     14· ·you ever think that you would be working for 40 hours a
     15· ·week?
     16· · · · A.· ·I mean, I knew there was a possibility
     17· ·because I knew she was busy with Head Kandy.· So I knew
     18· ·it was a possibility.· And I will say that I -- I
     19· ·shouldn't say that I know for sure that I didn't work a
     20· ·40-hour week.· I don't know for sure that I didn't work
     21· ·a 40-hour week.· I don't remember having her
     22· ·consistently for 10 hours for four days or eight hours
     23· ·for five days in one whole week.· So there's a
     24· ·possibility, but I don't remember it happening.
     25· · · · Q.· ·And -- and, Ms. Cook, was it your

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     ·1· ·understanding, based on that text message, that you
     ·2· ·might get paid even if you weren't working?
     ·3· · · · A.· ·Yes.
     ·4· · · · Q.· ·Ms. Cook, when you learned that you might
     ·5· ·get paid for not working, did you have any thoughts
     ·6· ·about that?
     ·7· · · · A.· ·I mean, my first thought was, like, that's
     ·8· ·great, right.· I -- I didn't really question it because
     ·9· ·to me, she was the boss of the business.· So like, if
     10· ·she -- that's the decision she wanted to make, great.
     11· ·I wasn't going to question it, right, because it worked
     12· ·in my benefit.· So I wasn't going to question it.· And
     13· ·she was willing to be helpful when I was willing to be
     14· ·helpful.· So I never questioned it because, to me, she
     15· ·was the boss, and she could do whatever she wanted to
     16· ·do.
     17· · · · Q.· ·Now, Ms. Cook, after you and Ms. McNeill
     18· ·exchanged these text messages, did you fill out any
     19· ·paperwork to begin working at Head Kandy?
     20· · · · A.· ·Yes.
     21· · · · Q.· ·Okay.· I -- I'm putting on my screen a -- a
     22· ·document titled New Hire/Rehire Data Sheet.
     23· · · · · · ·Ms. Cook, can you still see what I put on
     24· ·the screen?
     25· · · · A.· ·Yes.

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     ·1· · · · Q.· ·Is this document the new hire paperwork that
     ·2· ·you at least partially filled out prior to --
     ·3· · · · A.· ·Yes.· Yep.
     ·4· · · · Q.· ·Okay.· And does it appear to be in the same
     ·5· ·condition as when you filled it out?
     ·6· · · · A.· ·Sorry, say that one more time.
     ·7· · · · Q.· ·Does it appear to look the same as when you
     ·8· ·filled it out?
     ·9· · · · A.· ·The top part of it that I filled out; not
     10· ·the bottom part of it.
     11· · · · Q.· ·And why does the bottom part not look the
     12· ·same?
     13· · · · A.· ·Because I did not fill that out.· That's not
     14· ·my handwriting.
     15· · · · Q.· ·Okay.· But the top portion, at least, looks
     16· ·the same?
     17· · · · A.· ·Yeah.· The part about -- the whole Section 1
     18· ·is my handwriting.· From Section 2 below is not my
     19· ·handwriting.
     20· · · · · · ·MS. SADRO:· And, Madam Court Reporter, I'm
     21· ·going to mark this as Exhibit 3.
     22· · · · · · ·(EXHIBIT 3 MARKED FOR IDENTIFICATION)
     23· · · · · · ·MS. SADRO:· And just for -- oh, I -- I
     24· ·apologize.· I thought Ms. Cook's Social Security number
     25· ·was on there.· To the extent it is, and I can't -- I'm

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     ·1· ·not currently recognizing it.· I don't believe it is.
     ·2· ·It's just the phone number.· I will redact it.· But I
     ·3· ·don't believe her Social Security number is on it.
     ·4· · · · · · ·THE WITNESS:· It is.· It's at the top above
     ·5· ·my name, my last name.
     ·6· · · · · · ·MS. SADRO:· I thought I saw it.· Thank you,
     ·7· ·Ms. Cook.
     ·8· · · · · · ·THE WITNESS:· Yeah.
     ·9· · · · · · ·MS. SADRO:· So for the record and for
     10· ·Counsel's benefit, I will redact that Social Security
     11· ·number prior to submitting it to the court reporter, if
     12· ·that is all right with you, Mr. Converse?
     13· · · · · · ·MR. CONVERSE:· Yes.
     14· ·BY MS. SADRO:
     15· · · · Q.· ·Okay.· All right.· So Ms. Cook, tell me the
     16· ·name of the company that's on this new hire data sheet?
     17· · · · A.· ·Head Kandy LLC.
     18· · · · Q.· ·Okay.· So at this point in time, did you
     19· ·have any understanding of what company you were working
     20· ·for?
     21· · · · A.· ·I mean, I knew I was working for -- well,
     22· ·okay.· I knew I would be working for Kayla, but under
     23· ·Head Kandy.
     24· · · · Q.· ·Okay.· The -- your paycheck was coming from
     25· ·Head Kandy?

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     ·1· · · · A.· ·Right.
     ·2· · · · Q.· ·Okay.· Ms. Cook, when you filled this form
     ·3· ·out, was your understanding still that you were going
     ·4· ·to be serving as Ms. McNeill's babysitter?
     ·5· · · · A.· ·Yes.
     ·6· · · · Q.· ·Now, I want to go to the bottom part of the
     ·7· ·form that you told us a minute ago was not your
     ·8· ·handwriting.· Do you know whose handwriting this is?
     ·9· · · · A.· ·I don't.
     10· · · · Q.· ·All right.· And I -- I want to go to the
     11· ·kind of top of that bottom section where it says,
     12· ·position.· What position does that say?
     13· · · · A.· ·Oh, it says Facebook.
     14· · · · Q.· ·Ms. Cook, at any point in time, did you work
     15· ·for Head Kandy in the capacity of serving for Facebook?
     16· · · · A.· ·No.
     17· · · · Q.· ·Did you ever work for Head Kandy's social
     18· ·media team?
     19· · · · A.· ·No.
     20· · · · Q.· ·Did you ever make any social media posts for
     21· ·Head Kandy on behalf of Head Kandy?
     22· · · · A.· ·No.
     23· · · · Q.· ·Okay.· So do you know why that says
     24· ·Facebook?
     25· · · · A.· ·I have no idea why it says Facebook.

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     ·1· · · · Q.· ·Okay.· And you don't recognize the
     ·2· ·handwriting?
     ·3· · · · A.· ·No.· I don't know who -- it had to have been
     ·4· ·either Keli-Lyn or Kaylin because they were the two in
     ·5· ·charge of, like, the front of the house or the front of
     ·6· ·the warehouse.· So it had to have been one of them.
     ·7· ·From my understanding of the way that the world works
     ·8· ·would be one of them.
     ·9· · · · Q.· ·While you were working for Head Kandy, did
     10· ·anybody bring this form back to you and show you the
     11· ·bottom portion?
     12· · · · A.· ·No.
     13· · · · Q.· ·So you had no idea that somebody had listed
     14· ·your position as Facebook?
     15· · · · A.· ·No idea.
     16· · · · Q.· ·All right.· So let's start with when you
     17· ·began work babysitting under Head -- under Head Kandy.
     18· · · · · · ·What was your day-to-day like?
     19· · · · A.· ·I would get my first one off to school, and
     20· ·I would drive to town with the second one.· I think I
     21· ·would pick Hayzlee up at, like, 8:00 or 8:30 at the
     22· ·hospital, and then I'd just drive her back to my house,
     23· ·and we'd just play and hang out.· And she would play
     24· ·with my little guy, and we'd eat, and she would take a
     25· ·nap.· Then I'd throw her in the car, and we'd head back

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     ·1· · · · Q.· ·Okay.· When that happened, did Ms. McNeill
     ·2· ·tell you the days that she might be out of town?
     ·3· · · · A.· ·She tried to give me a heads up, you know,
     ·4· ·like at least a week in advance.· Like, they were going
     ·5· ·to be gone on these days or whatever.· There were a few
     ·6· ·that it was like, oh, I'm just going to keep her today,
     ·7· ·kind of stuff, which was fine.
     ·8· · · · Q.· ·Did Ms. McNeill communicate with you about
     ·9· ·any longer periods of time that she might be out of the
     10· ·area?
     11· · · · A.· ·Yeah.
     12· · · · Q.· ·And what was that like?
     13· · · · A.· ·Like the days that they were going to be
     14· ·gone racing.· They would be gone like for a week or two
     15· ·weeks or three weeks at a time.· I don't know.· I'd
     16· ·have to look.· But that they would be gone for, you
     17· ·know, extended lengths of time because they would be
     18· ·racing.
     19· · · · Q.· ·And when the -- the McNeill family was gone,
     20· ·I'm assuming you weren't watching Hayzlee during that
     21· ·time period; is that right?
     22· · · · A.· ·Right.
     23· · · · Q.· ·Okay.· When that happened on the days you
     24· ·weren't watching Hayzlee, did Ms. McNeill offer to pay
     25· ·you for that time?

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     ·1· · · · A.· ·Yes.
     ·2· · · · Q.· ·What did she offer to pay you?
     ·3· · · · A.· ·She just offered to pay me my normal wage.
     ·4· ·So in those messages, it comes out that, like, I -- I
     ·5· ·couldn't be salaried, so then she did put me on $14 an
     ·6· ·hour.· And then it was discussed that because of what
     ·7· ·she had told me about being salaried and how much I was
     ·8· ·going to make, that, to be fair to me, she was going to
     ·9· ·allow me to clock in on the days that I did not have
     10· ·Hayzlee from 10:00 a.m. to 3:00 p.m.· So it wasn't a
     11· ·full day, which was still super helpful, but not to
     12· ·tell anybody, like any of the girls at the warehouse,
     13· ·like Keli-Lyn or Kaylin or Sydney or really anybody at
     14· ·the warehouse, to avoid the drama aspect of it.
     15· · · · Q.· ·Okay.· And -- and like you said, when you
     16· ·communicated about that with Ms. McNeill, was that via
     17· ·text message?
     18· · · · A.· ·It was, yes.
     19· · · · Q.· ·I'm going to share my screen again.
     20· · · · · · ·MS. SADRO:· And for the record, I'm going
     21· ·back into Exhibit 2.
     22· ·BY MS. SADRO:
     23· · · · Q.· ·And I'm beginning with the text message
     24· ·screenshot where -- from Ms. Cook.· The first message
     25· ·on that screenshot is, "It's totally fine."· But I want

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     ·1· ·to scroll down to the first message from Ms. McNeill.
     ·2· · · · · · ·Ms. McCook -- or, Ms. Cook, what did Ms.
     ·3· ·McNeill communicate to you in that message?
     ·4· · · · A.· ·She said that Kaylin -- or she told Kaylin
     ·5· ·she wanted to salary me, and she said that they didn't
     ·6· ·approve it.· She felt bad because she needed my help,
     ·7· ·so that this was between us.· I was just going to clock
     ·8· ·in on the days that I didn't have Hayzlee from 10:00
     ·9· ·a.m. to 3:00 p.m.
     10· · · · Q.· ·And in that text message, miss -- Ms. Cook,
     11· ·it says "when you don't have her;" is her referring to
     12· ·Hayzlee?
     13· · · · A.· ·Yes.
     14· · · · Q.· ·So was it your understanding that on the
     15· ·days you didn't have Hayzlee, you were still going to
     16· ·get paid?
     17· · · · A.· ·Right.
     18· · · · · · ·MR. CONVERSE:· Objection.· Form.
     19· ·BY MS. SADRO:
     20· · · · Q.· ·How many hours would you be paid for on
     21· ·those days?
     22· · · · A.· ·Just 10:00 to 3:00.· Ten -- or -- so five
     23· ·hours.
     24· · · · Q.· ·And how much per hour were you making?
     25· · · · A.· ·$14.

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     ·1· · · · Q.· ·Okay.· So how often do you think you were
     ·2· ·paid for days you didn't have Hayzlee?
     ·3· · · · A.· ·I would have to go back and look but maybe
     ·4· ·10 or so.· I'm not sure.
     ·5· · · · Q.· ·And, Ms. Cook, on the days you didn't have
     ·6· ·Hayzlee, were you performing any other work for Head
     ·7· ·Kandy?
     ·8· · · · A.· ·No.
     ·9· · · · Q.· ·On the days you didn't have Hayzlee, were
     10· ·you performing any other work for the McNeills?
     11· · · · A.· ·No.
     12· · · · Q.· ·Were you performing any work other than
     13· ·watching your own children at home?
     14· · · · A.· ·No.
     15· · · · Q.· ·And -- and again, Ms. Cook, did this seem
     16· ·odd to you?
     17· · · · A.· ·Yeah.· I mean, weird.· But again, she was
     18· ·the boss, and it was helpful.· To me, she was the boss.
     19· ·And it was helpful to me that she was being helpful
     20· ·because I was helping her out, so I just didn't
     21· ·question it.
     22· · · · Q.· ·Now, Ms. Cook, we were talking about a
     23· ·couple times Ms. McNeill let you know that she wasn't
     24· ·going to be there.· How would she let you know?
     25· · · · A.· ·She would just text me.· Or if I would,

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     ·1· ·10:00 a.m. to 3:00 p.m.
     ·2· · · · Q.· ·What about the 24th?
     ·3· · · · A.· ·The same as the 23rd and the 22nd.
     ·4· · · · Q.· ·And what about the 25th?
     ·5· · · · A.· ·The same.· No Hayzlee, clocked in from 10:00
     ·6· ·to 3:00.
     ·7· · · · Q.· ·And, Ms. Cook, during the time that you
     ·8· ·worked as a babysitter looking after Hayzlee, who --
     ·9· ·where did your paychecks come from?
     10· · · · A.· ·They came from Head Kandy.
     11· · · · Q.· ·Did you ever receive any direct payments
     12· ·from Ms. McNeill?
     13· · · · A.· ·No.
     14· · · · Q.· ·Did you ever receive payments from anybody
     15· ·else for watching Hayzlee?
     16· · · · A.· ·No.
     17· · · · Q.· ·And, Ms. Cook, I've got back up on screen
     18· ·what was -- we've already talked about as Exhibit 2.
     19· ·And going back to the text where we originally saw the
     20· ·February 2021 calendar.
     21· · · · · · ·Did Ms. McNeill send you other calendars?
     22· · · · A.· ·Yes.· I believe there's a calendar for every
     23· ·month through December of 2021.
     24· · · · Q.· ·And -- and like Ms. McNeill said, she said,
     25· ·"So the yellow is when we are gone, and the other days

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     ·1· ·were going to be gone in yellow.
     ·2· · · · Q.· ·October 2021?
     ·3· · · · A.· ·Same thing.· All the days they'd be gone
     ·4· ·were in yellow.
     ·5· · · · Q.· ·November 2021?
     ·6· · · · A.· ·The same.· They'd be gone those days.
     ·7· · · · Q.· ·December 2021?
     ·8· · · · A.· ·The same.· They'd be gone on those days.
     ·9· · · · Q.· ·Did Ms. McNeill ever clarify for you that
     10· ·there were days that she was going to be out of town
     11· ·where you shouldn't clock in from 10:00 to 3:00?
     12· · · · A.· ·I don't think so.
     13· · · · Q.· ·Was it your --
     14· · · · A.· ·Or I don't -- go ahead.
     15· · · · Q.· ·No.· I interrupted you.· Go ahead.
     16· · · · A.· ·That's okay.· I just was going to say, I
     17· ·don't -- I would have to go back and look through all
     18· ·of the messages, but I don't think there was a day
     19· ·where she told me not to clock in.
     20· · · · Q.· ·And did you believe you had permission to
     21· ·clock in on those days that you weren't watching
     22· ·Hayzlee?
     23· · · · A.· ·Yes.
     24· · · · Q.· ·And who did that permission come from?
     25· · · · A.· ·From Kayla.

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     ·1· · · · Q.· ·Okay.· Ms. Cook, can you see what I've
     ·2· ·shared on my screen again?
     ·3· · · · A.· ·Yes.
     ·4· · · · · · ·MS. SADRO:· And again, this is just
     ·5· ·Composite Exhibit 2 that's on the screen.
     ·6· ·BY MS. SADRO:
     ·7· · · · Q.· ·Okay.· So on Composite Exhibit 2, we're on
     ·8· ·the text that the first message begins with, "LOL.· She
     ·9· ·won't care."· Ms. Cook, I want to go down to the text
     10· ·message from Ms. McNeill that begins, "Anyways, it
     11· ·works for me."
     12· · · · · · ·Did Ms. McNeill indicate to you whether or
     13· ·not she wanted you to share that you were being paid
     14· ·for time not working with anybody else?
     15· · · · A.· ·Yeah.· She definitely told me not to tell
     16· ·anybody else.
     17· · · · Q.· ·How did you know that?
     18· · · · A.· ·That's what she says, is she doesn't want to
     19· ·-- she doesn't want other people to, like, think she's
     20· ·giving me special treatment, so not to tell anybody and
     21· ·to avoid the drama within the warehouse.
     22· · · · Q.· ·And in the text message where it says, "Not
     23· ·even Keli, please," do you know who Keli is?
     24· · · · A.· ·Yeah.· Keli is my older sister who worked in
     25· ·the warehouse.

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     ·1· · · · Q.· ·Okay.· And so your understanding was that
     ·2· ·Ms. McNeill didn't want you to tell any Head Kandy
     ·3· ·employee, right?
     ·4· · · · A.· ·Right.
     ·5· · · · Q.· ·Did you ever understand -- did you ever
     ·6· ·learn why Ms. McNeill did not want other Head Kandy
     ·7· ·employees to know that you were being paid for time not
     ·8· ·working?
     ·9· · · · A.· ·I charged it up to the drama because there
     10· ·was a lot of that.· I didn't question it for any other
     11· ·reason other than, like she said, people saying that
     12· ·she was going to give me special treatment, or it
     13· ·wasn't fair; things like that.
     14· · · · Q.· ·Ms. Cook, how long did this arrangement go
     15· ·on for?
     16· · · · A.· ·Just until the --
     17· · · · · · ·MR. CONVERSE:· Objection.· Form.
     18· · · · · · ·THE WITNESS:· Just until the beginning of
     19· ·March.
     20· ·BY MS. SADRO:
     21· · · · Q.· ·Oh, did you -- what happened in the
     22· ·beginning of March?
     23· · · · A.· ·There was just something that happened
     24· ·between Kayla and I.· She was talking about my middle
     25· ·son when I wasn't around.· And I confronted her about

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